     Case 20-16080          Doc 10      Filed 12/10/20 Entered 12/10/20 23:18:57                   Desc Imaged
                                       Certificate of Notice Page 1 of 3
Form NTCFTFC7

                                   United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Eastern Division
                                                    219 S Dearborn
                                                       7th Floor
                                                   Chicago, IL 60604


In Re:
                                                                Case No.
                                                                :         20−16080
Gino's Rosemont LLC                                             Chapter : 7
9501 W. Devon Ave.                                              Judge :   David D. Cleary
Rosemont, IL 60018
SSN: EIN: 81−2388771




Debtor's Attorney:                                             Trustee:
Joseph E Cohen                                                 Phillip D Levey ESQ
Cohen & Krol                                                   2722 North Racine Avenue
105 West Madison Suite 1100                                    Chicago, IL 60614
Chicago, IL 60602
                                                               773 348−9682
312 368−0300

                            NOTICE FIXING TIME FOR FILING CLAIMS
To the Debtor(s), Creditors, and other Parties in Interest:

A petition under Chapter 7 of the U.S. Bankruptcy Code has been filed by (or against) the above−named debtor(s) on
August 24, 2020 .

1. March 10, 2021 is fixed as the last day for the filing of claims by creditors other than governmental units.
2. March 10, 2021 is fixed as the last day for the filing of claims by governmental units.

In order to have a claim allowed and share in any distribution from the estate, a creditor must file a claim, whether or
not the creditor was included in the schedules filed by the debtor(s). Claims which are not filed on or before the date
fixed as the last day for the filing of claims as specified in #1 and #2 above, will not be timely, except as otherwise
provided by law.

Attorneys must file this claim electronically via the CM/ECF system. Non−Attorneys may file in person or by
mail at the Clerk of the Bankruptcy Court's address shown at the top of the form. A Proof of Claim form
("Official Form B 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerks office.

                                                              For the Court,


Dated: December 8, 2020                                       Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
           Case 20-16080                Doc 10          Filed 12/10/20 Entered 12/10/20 23:18:57                                     Desc Imaged
                                                       Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 20-16080-DDC
Gino's Rosemont LLC                                                                                                    Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: mmiller                                                               Page 1 of 2
Date Rcvd: Dec 08, 2020                                               Form ID: ntcftfc7                                                         Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 10, 2020:
Recip ID                   Recipient Name and Address
db                     +   Gino's Rosemont LLC, 9501 W. Devon Ave., Rosemont, IL 60018-4811
28998034               +   Anichini Brothers, 545 N. Wells St., Chicago, IL 60654-2628
28998035               +   AutoChlor, 2540 United Lane, Elk Grove Village, IL 60007-6819
28998036               +   Becpos Systems, 5610 Ward Rd., Suite 200, Arvada, CO 80002-1309
28998039               +   Cozzini, 350 Howard Ave., Des Plaines, IL 60018-1908
28998040               +   Delta, 5822 Kenney St., Morton Grove, IL 60053-3551
28998041               +   Gino's East Restaurant Corp., 201 E. Ohio Street, Suite 300, Chicago, IL 60611-3677
28998042               +   Gino's East Services LLC, 201 E. Ohio Street, Suite 300, Chicago, IL 60611-3677
28998043               +   Lezza, 4009 St. Charles Road, Bellwood, IL 60104-1197
28998044               +   Marlin Capital Solutions, P. O. Box 13604, Philadelphia, PA 19101-3604
28998045               +   NCR Aloha Software Systems, 9701 W. Higgins Rd., Suite 120, Rosemont, IL 60018-4714
28998046               +   NCR Corp., 864 Spring St. NW, Atlanta, GA 30308-1007
28998047               +   Orkin Pest Control, 5840 N. Lincoln Ave., Chicago, IL 60659-4611
28998048               +   Ried's Fire Equipment, P. O. Box 204, Lansing, IL 60438-0204
28998049                   Russel Lubliner, 90 Shoreline Road, Lake Barrington, IL 60010
28998051               +   SBA Loan, 500 W. Madison St., Chicago, IL 60661-4544
28998050               +   Safeguard, 508 Rugby Place, Schaumburg, IL 60194-4244
28998053               +   Tripleseat Software LLC, 300 Baker Ave., Suite 205, Concord, MA 01742-2131
28998054               +   Turano Baking, 6501 Roosevelt Rd., Berwyn, IL 60402-0718

TOTAL: 19

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QPDLEVEY.COM
                                                                                        Dec 09 2020 04:38:00      Phillip D Levey, ESQ, 2722 North Racine Avenue,
                                                                                                                  Chicago, IL 60614-6775
28998033               + Email/Text: arlegal@amtrustgroup.com
                                                                                        Dec 09 2020 00:18:00      AmTrust North America, 800 Superior Avenue E,
                                                                                                                  Cleveland, OH 44114-2601
28998038                   Email/Text: comedbankruptcygroup@exeloncorp.com
                                                                                        Dec 09 2020 00:18:00      ComEd, P. O. Box 6111, Carol Stream, IL
                                                                                                                  60197-6111
28998037               + EDI: COMCASTCBLCENT
                                                                                        Dec 09 2020 04:33:00      Comcast Business, P. O. Box 4928, Oak Brook, IL
                                                                                                                  60522-4928
28998052                   EDI: NEXTEL.COM
                                                                                        Dec 09 2020 04:38:00      Sprint, P. O. Box 4191, Carol Stream, IL 60197
28998055                   EDI: USBANKARS.COM
                                                                                        Dec 09 2020 04:38:00      US Bank, P. O. Box 1800, Saint Paul, MN 55101

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty              *+            Phillip D Levey, ESQ, 2722 North Racine Avenue, Chicago, IL 60614-6775
           Case 20-16080              Doc 10         Filed 12/10/20 Entered 12/10/20 23:18:57                              Desc Imaged
                                                    Certificate of Notice Page 3 of 3
District/off: 0752-1                                               User: mmiller                                                        Page 2 of 2
Date Rcvd: Dec 08, 2020                                            Form ID: ntcftfc7                                                  Total Noticed: 25
TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 10, 2020                                        Signature:          /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 8, 2020 at the address(es) listed
below:
Name                             Email Address
Joseph E Cohen
                                 on behalf of Debtor 1 Gino's Rosemont LLC jcohen@cohenandkrol.com
                                 jcohenattorney@gmail.com;gkrol@cohenandkrol.com;jneiman@cohenandkrol.com;acartwright@cohenandkrol.com

Phillip D Levey, ESQ
                                 levey47@hotmail.com plevey@ecf.axosfs.com

Phillip D Levey, ESQ
                                 on behalf of Debtor 1 Gino's Rosemont LLC levey47@hotmail.com plevey@ecf.axosfs.com


TOTAL: 3
